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                                                                               EXHIBIT 17


 Go to search home page                                What do all these data points mean?



1299870
Date CFPB received the     Product
complaint                  Mortgage
3/25/2015
                           Sub-product: Conventional adjustable mortgage (ARM)

Consumer's state
                           Issue
VA
                           Loan modification,collection,foreclosure
Consumer's zip
221XX                      Consumer consent to publish narrative
                            Consent provided
Submitted via
Web                        Consumer complaint narrative
                           I am writing this letter regarding my mortgage loan I have had
Tags                       since XXXX, XXXX for my house. My involvement with the Loss
                           Mitigation Department of Shellpoint Mortgage Services began in
Did consumer dispute       early XXXX XXXX. I had an unexpected downturn in my business
the response?              in XXXX XXXX, which resulted in a significant loss of income and
                           my inability to make my mortgage payment. I immediately
No
                           contacted XXXX XXXX XXXX Mortgage customer service
                           department to learn about the options available. I received a
                           detailed package in the mail to initiate the loan mitigation
                           process. Meanwhile my mortgage was transferred to ShellPoint
                           Mortgage Services. I have submitted all required documents to
                           ShellPoint Mortgage Services numerous times from XXXX, XXXX
                           to XXXX, XXXX. When I call to check the status of my packet, I am
                           forced to leave a voicemail. On occasion I have had the
                           opportunity to speak to an agent, who indicates the packet had
                           not been sent to the loan processor yet and to call back, or the
                           packet is with the loan processor and they will call me. After
                           repeated attempts and requests the progress remains null. At this
                           point in the process it is clear that Shellpoint Mortgage Services
                           Loss Mitigation Department is engaged in a pattern and practice,
                           which is certainly unsupportive. I have complied with all the
                           requests from Shellpoint Mortgage Services, however, it appears
                           the overriding goal of the Loss Mitigation Department is to force
                           my loan into foreclosure and take my property from me. I have
                           been making payments, but remain behind and I have difficulty
                           maintaing the payments at this point and need assistance.
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  Company information
  Date complaint sent to           Timely response?
  company                           Yes
  3/25/2015
                                   Company response to consumer
  Company name                     Closed with explanation
  Shellpoint Partners, LLC
                                   Company public response
                                   Company believes it acted appropriately as authorized by
                                   contract or law




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2116680
Date CFPB received the     Product
complaint                  Mortgage
9/16/2016
                           Sub-product: FHA mortgage

Consumer's state
                           Issue
WA
                           Loan modification,collection,foreclosure
Consumer's zip
980XX                      Consumer consent to publish narrative
                            Consent provided
Submitted via
Web                        Consumer complaint narrative
                           I had previously submitted a complaint XXXX XXXX XXXX, but
Tags                       did not respond. I thought our new loan servicer ( Shellpoint )
                           was moving forward with our loan. They are not. I have called
Did consumer dispute       almost XXXX dozen times and have only received calls back in
the response?              which they hang up on me when I answer. I have done
                           EVERYTHING required to modify my home loan, repeatedly.
No
                           Nothing ever comes of it. I have been stuck in limbo for years
                           now. And because nothing is ever reported positively to the
                           credit agencies, my credit is always ruined so that I never have
                           any other recourse. I need help. These loan servicers are just
                           kicking the can until homeowners give up. I will not.



Company information
Date complaint sent to     Timely response?
company                     Yes
9/16/2016
                           Company response to consumer
Company name               Closed with explanation
Shellpoint Partners, LLC
                           Company public response
                           Company believes complaint caused principally by actions of
                           third party outside the control or direction of the company
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2414414
Date CFPB received the     Product
complaint                  Mortgage
4/1/2017
                           Sub-product: Conventional fixed mortgage

Consumer's state
                           Issue
GA
                           Loan modification,collection,foreclosure
Consumer's zip
301XX                      Consumer consent to publish narrative
                            Consent provided
Submitted via
Web                        Consumer complaint narrative
                           We submitted for a loan modification and every day we asked if
Tags                       there was a sale date. Just last week we were told that there was a
                           foreclosure sale date on on XX/XX/XXXX 2017. We have to work
Did consumer dispute       with an assigned loss mitigation representative at Shellpoint
the response?              mortgage and her name is XXXX XXXX which is never in the
                           office. We have been submitting the same document ( Annual
No
                           HOA bill ) for weeks and now she says it does n't state if it annual
                           but clearly at the bottom of the page it does. Everyone we talked
                           to said it met the requirement and were very helpful with what
                           they thought we should do so we did all of it. All the paper work
                           has been sitting in the office and XXXX XXXX is fully aware of the
                           sale date and we are going to lose our home because she is n't in
                           the office. There is a complete loss mitigation package everything
                           and more in the office and she is n't in to review the package. We
                           have offered to do a repayment plan or even a forbearance plan
                           but were told it would take too long to get the figures from the
                           attorney, however we have been saying we would go that route
                           for two weeks. We are willing to do what ever it takes to save our
                           home. We have not received any documents from Shellpoint
                           mortgage in regards to missing documents what 's require we
                           were even told to XXXX the HMDA paperwork to find it online.
                           No ten day letters, no incomplete package letters, absolutely
                           nothing. We just want a chance to save our home we are
                           employed and can afford our mortgage we just got behind
                           because of circumstances we could not control. We have
                           resolved everything and are more than willing to do what ever we
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                                   need to do. Please we need help to save our home or someone
                                   to listen and do what it is that needs to be done.



  Company information
  Date complaint sent to           Timely response?
  company                           Yes
  4/1/2017
                                   Company response to consumer
  Company name                     Closed with explanation
  Shellpoint Partners, LLC
                                   Company public response
                                   Company believes it acted appropriately as authorized by
                                   contract or law




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1434835
Date CFPB received the     Product
complaint                  Mortgage
6/23/2015
                           Sub-product: Conventional fixed mortgage

Consumer's state
                           Issue
FL
                           Loan modification,collection,foreclosure
Consumer's zip
                           Consumer consent to publish narrative
Submitted via               Consent provided
Web
                           Consumer complaint narrative
Tags                       Shellpoint Mortgage Servicing sent letter dated XXXX/XXXX/15
                           advising that we have not provided all documentation for loss
                           mitigation program. I have questions and I have called XXXX
Did consumer dispute
the response?              XXXX at Shellpoint every business day for six days. Her voice Mail
                           says she will return the call within 24 hours. She has not returned
No
                           my calls. Her message says press XXXX for further assistance
                           when I press XXXX the message says No one is available to help
                           you, call back. Shellpoint has given us a deadline to submit
                           documents yet it has been six days of daily telephone calls and
                           leaving messages with NO RETURN calls from XXXX XXXX or
                           anyone else at Shellpoint Mortgage Servicing.



Company information
Date complaint sent to     Timely response?
company                     Yes
6/23/2015
                           Company response to consumer
Company name               Closed with explanation
Shellpoint Partners, LLC
                           Company public response
                           Company believes it acted appropriately as authorized by
                           contract or law
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1630782
Date CFPB received the     Product
complaint                  Mortgage
10/29/2015
                           Sub-product: Conventional fixed mortgage

Consumer's state
                           Issue
CA
                           Loan modification,collection,foreclosure
Consumer's zip
917XX                      Consumer consent to publish narrative
                            Consent provided
Submitted via
Web                        Consumer complaint narrative
                           I applied for assistance in saving my home with my servicer,
Tags                       Shellpoint Mortgage Servicing, on XXXX/XXXX/2015. I hired an
                           attorney to help me submit my paperwork. My attorney
Did consumer dispute       confirmed Shellpoint received my full and complete application
the response?              and all financials on XXXX/XXXX/2015. My attorney called
                           Shellpoint several times for an update after the submission. No
No
                           calls were ever returned. Shellpoint only returned the calls after
                           the home had already foreclosed. I never received any approval
                           or denial letters from Shellpoint until after my home was
                           foreclosed on XXXX/XXXX/2015. My attorney finally obtained a
                           copy of a denial letter from Shellpoint by fax on
                           XXXX/XXXX/2015. My home was foreclosed while waiting for a
                           response from Shellpoint. I feel my servicer purposely withheld
                           my denial letter, avoided taking calls from my attorney and did
                           not advise me I was denied in order to evade allowing me the
                           time appeal the decision before setting a sale date and actually
                           foreclosing my home. My servicer XXXX set a sale date before my
                           timeline to appeal expired : Denial Letter dated :
                           XXXX/XXXX/2015 ( Attached ) Timeline to appeal per denial
                           letter : XXXX/XXXX/2015 ( Attached ) Sale Date set on :
                           XXXX/XXXX/2015 - XXXX ( Attached ) My real estate attorney
                           states RESPA Regulation X ( 1024.41 ) ( Copy Attached ) prohibits
                           servicers from moving forward with an order of sale while under
                           review or within the appeal period for loss mitigation. I feel XXXX
                           Shellpoint Mortgage Servicing broke the law when they moved to
                           order a sale date on XXXX/XXXX/2015. They should have waited
                           until after XXXX/XXXX/15 to set the sale date. In summary, I feel I
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                                   was illegally foreclosed while I was awaiting a decision on a loss
                                   mitigation application. My servicer purposely hid the fact they
                                   had denied me in order to evade allowing me to appeal the
                                   decision. They illegally set a sale date against me on
                                   XXXX/XXXX/2015 during the timeline in which I was supposed to
                                   be able to appeal. They did not allow me to appeal the denial by
                                   way of hiding it from me. I did not actually receive a denial letter
                                   until XXXX/XXXX/2015 ( Attached ), which is after they had
                                   already foreclosed me. I am sure Shellpoint XXXX will attempt to
                                   tell you that this is all a misunderstanding, but it is very evident it
                                   was on purpose.



  Company information
  Date complaint sent to           Timely response?
  company                           Yes
  10/29/2015
                                   Company response to consumer
  Company name                     Closed with explanation
  Shellpoint Partners, LLC
                                   Company public response
                                   Company believes it acted appropriately as authorized by
                                   contract or law




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1985552
Date CFPB received the     Product
complaint                  Mortgage
6/27/2016
                           Sub-product: Conventional fixed mortgage

Consumer's state
                           Issue
NJ
                           Loan modification,collection,foreclosure
Consumer's zip
077XX                      Consumer consent to publish narrative
                            Consent provided
Submitted via
Web                        Consumer complaint narrative
                           I have a loan in foreclosure with Shellpoint Mortgage, Loan #
Tags                       XXXX, and I re-applied for a loan modification on XXXX XXXX,
                           2016. Shellpoint claimed that I reapplied on XXXX XXXX, 2016.
Did consumer dispute       Regardless, Shellpoint replied on XXXX XXXX, 2016 stating "
the response?              Shellpoint Mortgage Servicing ( " Shellpoint '' ) has received your
                           complete request for loss mitigation program. We are currently
No
                           reviewing the package to determine if the referenced loan
                           qualifies for one of our programs. We will contact you if we need
                           additional information or, if during the evaluation process, we
                           determined your package to be incomplete ''. Shellpoint
                           Mortgage never contacted me since XXXX XXXX, 2016 about any
                           missing document before I received a denial letter dated XXXX
                           XXXX, 2016. In the denial letter, Shellpoint Mortgage claimed
                           that I did not provided documented that we requested. THAT IS
                           FALSE. Shellpoint never contacted me or my authorized
                           representative in writing or via phone about any missing
                           document between XXXX XXXX, 2016 ( when I submitted the
                           application ) and XXXX XXXX, 2016 ( when Shellpoint sent me
                           the denial letter ). The only communication I received from
                           Shellpoint between XXXX XXXX, 2016 and XXXX XXXX, 2016 was
                           a mortgage statement demanding payment for the arrears.
                           Please see the attached supporting documents. Shellpoint
                           Mortgage NEVER evaluated my application that I sent in on XXXX
                           XXXX, 2016 and is now telling stories about contacting me for
                           missing documents in it ongoing effort to take away my home via
                           foreclosure.
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  Company information
  Date complaint sent to           Timely response?
  company                           Yes
  6/27/2016
                                   Company response to consumer
  Company name                     Closed with explanation
  Shellpoint Partners, LLC
                                   Company public response
                                   Company believes it acted appropriately as authorized by
                                   contract or law




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1389915
Date CFPB received the     Product
complaint                  Mortgage
5/22/2015
                           Sub-product: Conventional adjustable mortgage (ARM)

Consumer's state
                           Issue
CA
                           Loan modification,collection,foreclosure
Consumer's zip
                           Consumer consent to publish narrative
Submitted via               Consent provided
Web
                           Consumer complaint narrative
Tags                       I originally applied for loan modification, but was denied, then I
                           agreed to a repayment plan and the rep ( XXXX XXXX ) who is RM
                           on file and he said he would get the repayment plan approved by
Did consumer dispute
the response?              his manager and get back to me. 20 days later still have not heard
                           from him, I called several times left message and other reps in the
Yes
                           department said he would have to help me, then took his
                           manager number who is XXXX XXXX, left her message and still
                           havent heard back. They are very unprofessional, my loan is in
                           foreclosure accruing more fees everyday but yet no one cares to
                           return my call and help me get out of deafult.



Company information
Date complaint sent to     Timely response?
company                     Yes
5/22/2015
                           Company response to consumer
Company name               Closed with explanation
Shellpoint Partners, LLC
                           Company public response
                           Company believes it acted appropriately as authorized by
                           contract or law
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 2373362
 Date CFPB received the       Product
 complaint                    Mortgage
 3/7/2017
                              Sub-product: Conventional fixed mortgage

 Consumer's state
                              Issue
 TX
                              Loan modification,collection,foreclosure
 Consumer's zip
 787XX                        Consumer consent to publish narrative
                               Consent provided
 Submitted via
 Web                          Consumer complaint narrative
                              Shellpoint Mortgage continuously requests documents for a loan
 Tags                         modification after they have been sent multiple times. This tactic
                              has caused an unnecessary delay and ultimately led to my
 Did consumer dispute         mortgage modification to be canceled due to, " you did not
 the response?                provide us with the documents requested ''.

 No



 Company information
 Date complaint sent to       Timely response?
 company                       Yes
 3/7/2017
                              Company response to consumer
 Company name                 Closed with explanation
 Shellpoint Partners, LLC
                              Company public response
                              Company believes it acted appropriately as authorized by
                              contract or law




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2423085
Date CFPB received the     Product
complaint                  Mortgage
4/6/2017
                           Sub-product: Conventional adjustable mortgage (ARM)

Consumer's state
                           Issue
LA
                           Loan modification,collection,foreclosure
Consumer's zip
703XX                      Consumer consent to publish narrative
                            Consent provided
Submitted via
Web                        Consumer complaint narrative
                           Hi I 'm writing to complaint about Shellpoint Mortgage company.
Tags                       We are try to do a loan modification I through everything was
                           going fine .I would call every 2 day to check on my loan I got no
Did consumer dispute       call back or your loan steel being processed. A few days ago
the response?              someone from a Realtor company came to my house. Say we
                           have to sign a paper a be out in 30 days. NO WORD FROM MY
No
                           MORTGAGE COMPANY ABOUT THEY WAS SELLING OUR
                           HOUSE .I HAD TO got To COURT HOUSE TO SEE WHAT WAS
                           GOING ON. THEY NO ANSWER. NOW. HAVE TO A LAWYER
                           .PLEASE HELP ME TO UNDERSTAND WERE I WENT WRONG. SO
                           disappointed In My MORTGAGE COMPANY



Company information
Date complaint sent to     Timely response?
company                     Yes
4/7/2017
                           Company response to consumer
Company name               Closed with explanation
Shellpoint Partners, LLC
                           Company public response
                           Company believes it acted appropriately as authorized by
                           contract or law
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 1994370
 Date CFPB received the       Product
 complaint                    Mortgage
 6/30/2016
                              Sub-product: Conventional fixed mortgage

 Consumer's state
                              Issue
 WA
                              Loan modification,collection,foreclosure
 Consumer's zip
 98626                        Consumer consent to publish narrative
                               Consent provided
 Submitted via
 Web                          Consumer complaint narrative
                              I am submitting a complaint because Shellpoint continues to dual
 Tags                         track and perform deceptive, unfair and abusive loan servicing
                              practices and has now given me an endless runaround for 3
 Did consumer dispute         years.
 the response?
 No



 Company information
 Date complaint sent to       Timely response?
 company                       Yes
 6/30/2016
                              Company response to consumer
 Company name                 Closed with explanation
 Shellpoint Partners, LLC
                              Company public response
                              Company believes it acted appropriately as authorized by
                              contract or law




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 Go to search home page                               What do all these data points mean?



1356012
Date CFPB received the     Product
complaint                  Mortgage
5/1/2015
                           Sub-product: Conventional fixed mortgage

Consumer's state
                           Issue
TX
                           Loan modification,collection,foreclosure
Consumer's zip
775XX                      Consumer consent to publish narrative
                            Consent provided
Submitted via
Web                        Consumer complaint narrative
                           My name is XXXX XXXX my husband and I was a customer of
Tags                       XXXX Mortgage and then XXXX XXXX XXXX purchased the
                           account. Since 2014 around about XXXX we asked for a home
Did consumer dispute       mortification and learned XXXX XXXX XXXX was told by The
the response?              State Attorney Office in a Lawsuit to help people keep there
                           homes in XXXX 2014. XXXX XXXX XXXX sold our account to
No
                           Shellpoint Mortgage again we were told to submit paper to work
                           to help us save our home. No one at XXXX Mortgage has worked
                           with us, all income and bank statements proved we have gotten
                           back on our feet to save our home. We have left messages and
                           again no one will help us. My husband received a XXXX and we
                           got behind while he was recoving XXXX. We need the help the
                           was promised to us!!



Company information
Date complaint sent to     Timely response?
company                     Yes
5/1/2015
                           Company response to consumer
Company name               Closed with explanation
Shellpoint Partners, LLC
                           Company public response
                           Company believes it acted appropriately as authorized by
                           contract or law
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 2269727
 Date CFPB received the       Product
 complaint                    Mortgage
 12/30/2016
                              Sub-product: Conventional fixed mortgage

 Consumer's state
                              Issue
 ID
                              Loan modification,collection,foreclosure
 Consumer's zip
 602XX                        Consumer consent to publish narrative
                               Consent provided
 Submitted via
 Web                          Consumer complaint narrative
                              Servicer has been avoiding compliance with XXXX guidelines
 Tags                         and CFPB rules for proceeding to a foreclosure sale when a loss
                              mitigation application is still pending.
 Did consumer dispute
 the response?
 No



 Company information
 Date complaint sent to       Timely response?
 company                       Yes
 12/30/2016
                              Company response to consumer
 Company name                 Closed with explanation
 Shellpoint Partners, LLC
                              Company public response
                              Company believes it acted appropriately as authorized by
                              contract or law




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2134651
Date CFPB received the     Product
complaint                  Mortgage
9/27/2016
                           Sub-product: Other mortgage

Consumer's state
                           Issue
MI
                           Loan modification,collection,foreclosure
Consumer's zip
495XX                      Consumer consent to publish narrative
                            Consent provided
Submitted via
Web                        Consumer complaint narrative
                           Shellpoint Mortgage Servicing, XXXX XXXX XXXX, XXXX, XXXX
Tags                       and now, attorney firm, XXXX XXXX XXXX XXXX. have violated
                           multiple federal and state statutes. One of which relates to the
Did consumer dispute       submission of my complete loan modification package. This was
the response?              never acknowledged, processed nor decisioned by any of these
                           entities claiming ownership at various points in time of the
Yes
                           account. To this day, it is unclear as to who the real owner of the
                           account is? Also, there have been countless illegal, fraudulent
                           and improper collection attempts made on me, my wife and my
                           minor children in writing, telephonicaly and also in person by a
                           XXXX man that literally interrogated my wife and XXXX children
                           multiple times in our front yard about collecting monies, non of
                           whom have any obligation whatsoever.



Company information
Date complaint sent to     Timely response?
company                     Yes
9/27/2016
                           Company response to consumer
Company name               Closed with explanation
Shellpoint Partners, LLC
                           Company public response
                           Company believes it acted appropriately as authorized by
                           contract or law
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1632122
Date CFPB received the     Product
complaint                  Mortgage
10/29/2015
                           Sub-product: Conventional adjustable mortgage (ARM)

Consumer's state
                           Issue
CA
                           Loan modification,collection,foreclosure
Consumer's zip
926XX                      Consumer consent to publish narrative
                            Consent provided
Submitted via
Web                        Consumer complaint narrative
                           I have been trying to get a loan modification for almost 4 years
Tags                       now. First through XXXX XXXX XXXX, they repeatedly asked me
                           for the same documents every business quarter. Specifically, bank
Did consumer dispute       statements, a personal profit and loss statement, and tax return
the response?              copies. I did that many times for almost a year and a half, at that
                           time I got a letter from XXXX telling me that my loan had been
Yes
                           sold to a company called Shellpoint Motrgage company. That
                           company just picked right up where XXXX left off, asking me for
                           those same documents, bank statements, profit and loss, tax
                           returns. I have supplied them to Shellpoint through an attorney I
                           retained. I have sent those same documents for almost 2 years
                           now with no loan modification, just more form letters. My loan is
                           due to increase by almost double this month, my attorney has
                           repeatedly tried to contact Shellpoint to get status ... .No
                           callback, no email response from them to this point. I have not
                           received any certified mail regarding status or disposition of my
                           case. I am filing this complaint in hopes that we can work
                           together to get Shellpoint to do my loan modification.



Company information
Date complaint sent to     Timely response?
company                     Yes
10/29/2015
                           Company response to consumer
 Case 2:19-cv-09487-MCA-LDW Document 1-17 Filed 04/10/19 Page 28 of 30 PageID: 135
  Company name             Closed with explanation
  Shellpoint Partners, LLC
                                   Company public response
                                   Company believes it acted appropriately as authorized by
                                   contract or law




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Plain Writing                     Accessibility                          Office of Inspector
                                                                         General
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1544957
Date CFPB received the     Product
complaint                  Mortgage
8/31/2015
                           Sub-product: Other mortgage

Consumer's state
                           Issue
MI
                           Loan modification,collection,foreclosure
Consumer's zip
                           Consumer consent to publish narrative
Submitted via               Consent provided
Web
                           Consumer complaint narrative
Tags                       I began dealing with Shellpoint XX/XX/XXXX. Prior to that my XXXX
                           mortgage was service by XXXX loan services. At that time I was also
                           pursuing a loan modification. I had submitted XXXX proposals for a
Did consumer dispute the
response?                  settlement. Upon the XXXX settlement proposal they sold the loan and it
                           is now managed by Shellpoint loan servicing. XX/XX/XXXX I began the
No
                           loan modification process with Shellpoint. Over the course of the next 15
                           months I worked on sending documentation. Numerous times I would
                           receive letters in the mail stating that I did not send the required
                           documentation. Sometimes it was a matter of me re-sending them the
                           same email containing the documentation, which I had sent, but they
                           stated that I did not. Other times it was for additional documentation
                           which was not requested in the loan mod packet. Over the past 16
                           months I 've had XXXX or XXXX different individuals for points of
                           contact. Those individuals do not return your phone calls. I 've asked to
                           be connected to their supervisors. The supervisors do not return your
                           phone calls either. On the brief chances that I was able to get in contact
                           with someone at Shellpoint they always ask me to verify my contact
                           information because their notes show that they 've attempted to contact
                           me. Each time they read off phone numbers that are not mine and ones
                           that I did not provide. At those times I again provide them with my
                           correct phone #. I 've spoke with individuals who state that they are
                           emailing my point of contact along with their supervisor and I will
                           receive a call back within 24-48 hours. I do not ever receive a call back.
                           What led me to this point of filing a complaint is because on
                           XX/XX/XXXX I finally received word that the investors would approve a
                           modification. They would approve a 2 % reduction, effectively reducing
                           my interest rate from 9.6 % to 7.6 % but only for 3 years. This was
                           contingent on me making several months of trial payments. From
                           XX/XX/XXXX to XX/XX/XXXX I placed several calls and left voice
                           messages asking for updates. I did not receive any calls back and was
                           only given updates that they were still waiting to hear from the investors.
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                                     On XX/XX/XXXX I was told that there was still no new info as well as my
                                     point of contact and his supervisor were on vacation. On XX/XX/XXXX at
                                     appx XXXX XXXX XXXX contacted me to tell me that there was a mixup
                                     with some paperwork and my trial payment play had started
                                     XX/XX/XXXX. She stated that at this time I had XXXX options. I could
                                     make a double payment right then or I could start the loan modification
                                     process all over. I was extremely worked up about this news. I do n't
                                     know how I can be penalized for mistakes on their end. I abruptly ended
                                     the call with her. I proceeded to call back to speak with someone else
                                     only to find out that she XXXX is yet another new point of contact. The
                                     individual that I spoke with did not agree with XXXX and stated that they
                                     should be able to push out the trial payment play 1 month since it was
                                     their issue. They connected me to XXXX 's supervisors voice mail for me
                                     to leave a message. I 've spoken with other individuals to find out that
                                     her supervisor is a XXXX XXXX. Since XX/XX/XXXX I have called daily
                                     leaving at least 1 voice message per day. I have yet to get a return
                                     response.



  Company information
  Date complaint sent to             Timely response?
  company                             Yes
  8/31/2015
                                     Company response to consumer
  Company name                       Closed with explanation
  Shellpoint Partners, LLC
                                     Company public response
                                     Company believes it acted appropriately as authorized by contract or
                                     law




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